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                                                                               4

    "l>,AO 245B (CASD) (Rev. 1112) Judgment in a Cnminal Case
              Sheet 1



                                             UNITED STATES DISTRICT COD

                   UNITED STATES OF AMERICA
                                       v.
                        MATTHEW HODLIN (9)                                         Case Number: 11 CR3486-JAH
                                                                                   Gerard Jeffrey Wasson
                                                                                   Defendant' 5 A!tomey
   REGISTRAnON NO. 28134298

   o
   THE DEFENDANT:
   181 pleaded guilty to count(s) _O_n_e_o_f_th_e_l_n_d_ic_tm_e_n_t_,______________________________

   o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
   Title & Section                          Nature of Offense                                                                             Number(s)
     18 U,S.C. 371                   Conspiracy to Commit Wire Fraud                                                                             1




       The defendant is sentenced as provided in pages 2 through _ _....;4_ _ o f this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
o    The defendant has been found not guilty on count(S) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
'5(1
~ Count(s) _re_m_a_lll_l...;ng~lll_t_e_n_l_c_tm_e_n_t
                   . . . hId'                         _ _ _ _ _ _ _ _ _ _ _ _ is 0               IVI
                                                                                               are~       d'Ismlsse          . 0 f the U nIte
                                                                                                               . d on themotIOn           . d States.

f8I Assessment: $100.00.

f8I No fine                                        o Forfeiture pursuant to order filed ---------- , included herein.
      IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notity the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                              11 CR3486-JAH
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AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment-Page        2     of   _ ......4'--__
DEFENDANT: MATTHEW HODLIN (9)                                                                         a
CASE NUMBER: llCR3486-JAH
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
          If this jUdgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
                  Sheet 4 -- Special Conditions
                                                                                                         Judgment-Page   :i!L: of _ _4......._ _
       DEFENDANT: MATTHEW HODLIN (9)                                                                II
       CASE NUMBER: llCR3486..JAH




                                            SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter or reside in the Republic of Mexico without written permission ofthe Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Be monitored for a period of 6 months, with the location monitoring technology at the discretion of the probation officer. The offender shall
    abide by all technology abide by all technology requirements and shall pay all or part of the costs of participation in the location
    monitoring program, as directed by the court and/or the probation officer. In addition to other court-imposed conditions of release, the
    offender's movement in the community shall be restricted as specified below:


181 Defendant to reside in a half-way house for a period of 30 days.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
181 Resolve all outstanding warrants within 60 days.
181 Complete 100 hours of community service in a program approved by the probation officer within 18 months
D Complete a residential drug treatment program as directed by the Probation Officer.
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse, or mental
    health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre approved by the probation officer.

    NotifY the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any
    interest obtained under any other name, entity, including a trust, partnership or corporation, until fine or restitution is paid in full.

    Notity the Collections Unit, US Attorney's Office, before transferring any interest in any property owned directly or indirectly, including
    any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until or restitution or fine is paid in
    full.




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A0245S      Judgment in Criminal Case
            Sheet 5 Criminal Monetary Penalties

                                                                                                    Judgment   Page _ _4__ of             4
DEFENDANT: MATTHEW HODLIN (9)                                                                a
CASE NUMBER: llCR3486..JAH

                                                         RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_15_7_,0_0_0'_00_ _ _ unto the United States of America.




         This sum shall be paid       __ immediately.
                                       K as follows:


          It is ordered that the defendant pay restitution to the victim OCWEN in the amount of $157,000.00 through the Clerk,
          U.S. District Court. Payment of restitution shall be forthwith. The defendant shall pay the restitution during his probation
          release at the rate of $200 per month or 20% of the defendant's income, whichever is greater. These payment schedules
          do not foreclose the United States from exercising all legal actions, remedies, and processes available to collect the
          restitution judgment.

          Defendants shall be jointly and severally liable to pay this restitution with co-defendants/co-conspirators for the same
          losses.

          Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office of
          any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.

          Restitution shall be payable to:

          OCWEN
          ATTN: CUSTODIAN OF RECORDS
          2711 CENTERVILLE ROAD, #400
          WILMINGTON, DE. 19808




     The Court has determined that the defendant       does not     have the ability to pay interest. It is ordered that:

    )(       The interest requirement is waived.

            The interest is modified as follows:




                                                                                                   11 CR3486-JAH
